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               EXHIBIT C
       Affidavit of Martin D. Harris
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                      AFFIDAVIT OF MARTIN D. HARRIS

1.    I am an immigration attorney and have been practicing immigration law
      throughout the United States since 1984.

2.    I represent Lilian P. Calderon Jimenez in matters pending before the Board
      of Immigration Appeals (BIA), U.S. Citizenship and Immigration Services
      (USCIS), the Office of Chief Counsel of the Department of Homeland
      Security, and Immigration and Customs Enforcement (ICE). I was retained
      to handle Ms. Calderon’s case after her detention by ICE at her I-130
      interview on January 17, 2018.

3.    I submitted an affidavit in connection with Ms. Calderon’s petition for writ of
      habeas corpus on February 5, 2018. I am herein updating that affidavit.

4.    Ms. Calderon entered the United States on or around May 1, 1991. She and
      her parents and two brothers were placed in removal proceedings in 1998 in
      connection with her father’s application for asylum. Ms. Calderon was a child
      at the time and was a derivative beneficiary on her father’s application.

5.    Ms. Calderon’s father’s application for asylum was denied in 1999, and Ms.
      Calderon was granted 60 days to voluntarily depart the United States.

6.    In 2002, that order was affirmed by the BIA, and Ms. Calderon was provided
      30 days to depart the United States.

7.    When she did not depart, that voluntary departure grant converted into a
      final order of removal. See 8 C.F.R. § 1240.26(d).

8.    Ms. Calderon has lived with a final order of removal since 2002.

9.    In 2008, a motion to reopen that removal case on behalf of Ms. Calderon and
      her parents was denied.

10.   The motion to reopen was predicated on the claim that Ms. Calderon and her
      parents were eligible for relief under the Nicaraguan Adjustment and Central
      American Relief Act of 1997 (NACARA), Pub. L. No. 105-100, 111 Stat. 2193,
      2196 (1997), amended by Pub. L. No. 105-139, 111 Stat. 2644 (1997).

11.   Ms. Calderon’s parents asserted that their family qualified for this relief
      because they had attempted to register as class members in accordance with
      American Baptist Church v. Thornburgh, 760 F. Supp. 796 (N.D. Cal. 1991),
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      prior to the December 31, 1991 filing deadline. Via affidavit, Ms. Calderon’s
      parents explained that they had completed forms and paid a fee to a Rhode
      Island agency that defrauded them and did not submit their registration
      materials.

12.   The motion to reopen was denied on the grounds that Ms. Calderon’s parents
      provided insufficient evidence that they had timely registered for relief under
      NACARA.

13.   In May 2016, Ms. Calderon applied for Deferred Action for Childhood
      Arrivals (DACA). This application required her to prove that she was
      continuously physically present in the United States since 2007. Ms.
      Calderon attempted to demonstrate her continual physical presence with
      photographs, receipts, and other records. In February 2017, she was asked to
      supply more evidence of her continual physical presence. She supplied
      additional evidence, but her application for DACA was denied in April 2017
      when USCIS deemed this evidence insufficient.

14.   In November 2016, Ms. Calderon’s husband filed an I-130, Petition for Alien
      Relative, on her behalf.

15.   USCIS interviewed Ms. Calderon and her husband in connection with their I-
      130 application on January 17, 2018. See Ex. A (interview notice). The agency
      approved the I-130 that same day. See Ex. B (I-130 approval).

16.   Despite this, ICE detained Ms. Calderon at the Johnston, RI offices of USCIS
      immediately after her January 17, 2018 interview. After being processed in
      Rhode Island, she was held at the Suffolk County House of Correction in
      Boston.

17.   On January 30, 2018, I submitted a request on behalf of Ms. Calderon asking
      U.S. Citizenship and Immigration Services to conduct an internal review of
      their decision to deny Ms. Calderon’s DACA application. On April 3, 2018, I
      learned through the office of Senator Jack Reed of Rhode Island that the
      agency’s denial of Ms. Calderon’s DACA would stand.

18.   Also on January 30, 2018, I filed a Form I-246 with ICE in Burlington,
      Massachusetts, asking the agency to administratively stay Ms. Calderon’s
      removal.
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19.   On January 29, 2018, I submitted a request to the Department of Homeland
      Security’s Office of Chief Counsel, asking them to join Ms. Calderon in a joint
      motion to reopen to the BIA. The government declined to join in a reopening.

20.   On January 31, 2018, I filed motion asking the BIA to reopen Ms. Calderon’s
      immigration proceeding in order to allow her to seek to legalize her status by
      way of her marriage to a United States citizen, and to allow her to submit
      further evidence in support of her eligibility for NACARA. I have since
      supplemented that motion and have asked, as an additional ground for
      reopening, that Ms. Calderon be permitted to submit further evidence in
      support of asylum. That motion remains pending.

21.   Along with that motion to reopen, I filed a motion for an Emergency Stay of
      Removal with the BIA. That motion is pending.

22.   When I called the BIA’s emergency stay line on Friday, February 2, 2018, I
      was informed that the BIA had contacted Ms. Calderon’s ICE deportation
      officer in Burlington, Massachusetts but was told that no date had been set
      for Ms. Calderon’s removal and that—because no date had been set—the BIA
      had not ruled on the emergency stay request. The person I spoke to invited
      me to call back on the next business day.

23.   In order to demonstrate the hardship that Ms. Calderon’s continued
      separation from her family would cause to her children, I arranged for her
      children to be assessed by a licensed mental health counselor. See Ex. C
      (counselor’s assessments).

24.   On February 5, 2018, after hearing from Ms. Calderon’s family that she
      believed she was leaving the Suffolk County House of Correction, I spoke to
      an officer at the facility and learned that ICE had prepared to transport Ms.
      Calderon to Louisiana, but had not done so as a consequence of the pending
      stay request.

25.   Ms. Calderon filed a petition for writ of habeas corpus in the District of
      Massachusetts on February 5, 2018. The following day, the federal court
      issued an order preventing her removal from Massachusetts during the
      pendency of the litigation.

26.   Despite that Order, on February 7, 2018, Ms. Calderon was transported to
      New Hampshire for an apparent transfer to the Strafford County House of
      Corrections. Apparently as a result of the Order in this case, her transport
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      turned around in New Hampshire and returned her to the Suffolk County
      House of Correction in Boston.

27.   On February 13, 2018, ICE granted my request for an administrative stay
      (form I-246) of Ms. Calderon’s removal, granting her a stay until May 12,
      2018.

28.   Ms. Calderon was released from detention on February 13, 2018, and
      returned home to her husband and children in Providence.

29.   On or around February 27, 2018, I filed a form I-212, Application for
      Permission to Reapply for Admission Into the United States After
      Deportation or Removal on behalf of Ms. Calderon. I asked that consideration
      of the I-212 be expedited in light of ICE’s efforts to remove her.

30.   On April 2, 2018, USCIS approved Ms. Calderon’s I-212. See Ex. D (I-212
      approval). Provisional I-212 applications are adjudicated at an individual’s
      local USCIS office (in this case, Johnston, RI). I believe the speed with which
      Ms. Calderon’s I-212 was adjudicated may have been a consequence of my
      request to expedite the request and the favorable publicity that Ms.
      Calderon’s case has received in the Rhode Island media.

31.   On April 13, 2018, I filed a new I-246, asking ICE to renew its stay of Ms.
      Calderon’s removal beyond May 12, 2018. Upon receipt of this motion, ICE
      placed Ms. Calderon on an order of supervision and required her to report to
      the Providence field office on May 28, 2018. On April 19, 2018 ICE granted
      Ms. Calderon a further stay of removal, this time to August 18, 2018.

32.   I am now in the process of preparing to file Ms. Calderon’s I-601A,
      Application for Provisional Unlawful Presence Waiver.

I declare under penalty of perjury that the foregoing is true and correct.


/s/ Martin D. Harris                                 April 28, 2018
Martin D. Harris                                     Date
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                     EXHIBIT A
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Luis A. Gordillo & Lilian Calderon-Jimenez
                                                                                         File Number:



CC: Marcela Ordonez                                                                      Date: December 18, 2017


Please appear at the below address on the indicated date for the following interview. It is important that you keep this
appointment and bring this letter with you.
OFFJCE                   1543 Atwood Ave
LOCATION                 Johnston, RI 02919
DATE AND                 Wednesday, January 17th, 2018@ 11:00 AM
TIME
REASON FOR               I-130 Interview
APPOINTMENT
BRING WITH               This Notice, photo identifications, and your passport.
YOU
                          Also, please bring an interpreter if applicable as this interview will be conducted in English.
                          The interpreter must be a United States citizen or permanent resident. Photo id.entification
                          and alien registration card, if applicable, must be presented by the interpreter.

                          An attorney or representative may not act as an interpreter if they have filed Form G-28 and
                          are representing you in relation to this petition.

                          Your interview may be recorded on videotape.

                          Also, please bring proof of your marital relationship, to include, but not limited to:

                              •   Documentation showing joint ownership of property;
                              •   Lease showing joint tenancy of a common residence;
                              •   Documentation showing commingling of financial resources;
                              •   Birth certifir.ates of children born to the applicant and his or her spouse;
                              o   Affidavits of third parties having knowledge of the bona fides of the marital
                                  relationship, or
                              0   Other documentation establishing.that the marriage was not entered into in order to
                                  evade the immigration laws of the United States.

                           THIS WILL SERVE AS A FINAL NOTICE. FAILURE TO APPEAR WITHOUT GOOD
                           CAUSE FOR YOUR INTERVIEW WILL RESULT IN THE DENIAL OF YOUR
                           PETITION IN ACCORDANCE WITH 8 CFR & 103.2(b).
In the event that you are unable to appear, please attach a statement and any available evidence to show good cause for
your fajlure to appear for your interview. Any documentation submitted should be attached to thi notice and returned to
the addre s li$tcd above.

Sincerely,



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Field Office Director
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